Case 2:15-cv-02027-JAK-SS Document 18 Filed 04/03/15 Page 1 of 6 Page ID #:148




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                           UNITED STATES DISTRICT COURT
  9
                          CENTRAL DISTRICT OF CALIFORNIA
 10

 11   THE VLADIMIR GUSINSKY LIVING                Case No. 2:15-cv-02027- JAK(SSx)
      TRUST,
 12            Plaintiff,
 13
            v.
 14

 15   STEPHEN BERMAN, an individual et.
      al.;
 16            Defendants.
 17   and
      JAKKS PACIFIC, INC.,
 18            Nominal Defendant.
 19
                                                  Case No. 2:14-cv-1420 JAK(SSx)
 20
      ADVANCED ADVISORS, G.P.,
 21          Plaintiff,                           NOTICE OF MOTION AND
          v.                                      MOTION TO CONSOLIDATE;
 22                                               MEMORADUM OF POINTS AND
                                                  AUTHORITIES IN SUPPORT
 23   STEPHEN BERMAN, an individual et.           THEREOF
      al.;          Defendants.
 24                                               Date: May 11, 2015
      and                                         Time: 8:30 a.m.
 25   JAKKS PACIFIC, INC.,                        Place: Courtroom 750
               Nominal Defendant.
 26                                               JURY TRIAL DEMANDED
 27

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                                 MOTION TO CONSOLIDATE
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  1         TO THE HONORABLE COURT, ALL PARTIES AND THEIR
  2   COUNSEL OF RECORD:
  3         PLEASE TAKE NOTICE that on May 11, 2015 at 8:30 a.m. in Department
  4   750 of the above-captioned Court located at 255 East Temple Street, Los Angeles,
  5   CA 90012, the Honorable John A. Kronstadt presiding, Plaintiffs in the above-
  6   captioned cases, The Vladimir Gusinsky Living Trust (the “Gusinsky Trust”),
  7   Advanced Advisors, G.P. (“Advanced Advisors”) and the Louisiana Municipal
  8   Police Employees Retirement System (“LMPERS”) and (collectively, “Plaintiffs”),
  9   will and do hereby respectfully move the Court to consolidate Case No. 2:14-cv-
 10   1420 JAK(SSx) and Case No. 2:15-cv-02027-JAK(SSx) for all purposes pursuant to
 11   Federal Rule of Civil Procedure 42(a).
 12         This motion is made following the conference of counsel pursuant to L.R. 7-3
 13   which took place on March 24, 2015. Counsel for defendants Stephen Berman,
 14   Michael G. Miller, Murray L. Skala, Robert E. Glick, Marvin Ellin, Dan Almagor,
 15   Leigh Anne Brodsky, and Peter F. Reilly (collectively “Defendants”), and nominal
 16   defendant JAKKS Pacific, Inc. (“JAKKS”), have informed Plaintiffs’ counsel that
 17   they do not oppose this motion (“Motion”).
 18         The Motion is based on this Notice of Motion, the attached memorandum of
 19   points and authorities, all pleadings, records and files in this action, and on such
 20   evidence that may be presented at or before the time of hearing.
 21

 22   Dated: April 3, 2015                           LAW OFFICES OF DAVID N. LAKE
 23

 24                                                  By: /s/
 25
                                                            David N. Lake
                                                     Plaintiffs’ Liaison Counsel
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                               MOTION TO CONSOLIDATE
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  1                MEMORANDUM OF POINTS AND AUTHORITIES
  2         In support of their Motion To Consolidate, The Vladimir Gusinsky Living
  3   Trust (the “Gusinsky Trust”), Advanced Advisors, G.P. (“Advanced Advisors”) and
  4   the Louisiana Municipal Police Employees Retirement System (“LMPERS”)
  5   (collectively, “Plaintiffs”), hereby respectfully submit this memorandum of points
  6   and authorities.
  7   I.    INTRODUCTION
  8         By this unopposed motion, Plaintiffs ask the Court to consolidate Case No.
  9   2:14-cv-1420 JAK(SSx) and Case No. 2:15-cv-02027 JAK(SSx) for all purposes
 10   pursuant to Federal Rule of Civil Procedure 42(a).
 11
      II.   FACTS
 12
            The above-captioned cases are both shareholder derivative actions brought for
 13
      the benefit of nominal defendant JAKKS Pacific, Inc. (“JAKKS” or the
 14
      “Company”) against certain present and former members of JAKKS’ Board of
 15
      Directors (the “Director Defendants”) and involve substantially identical issues of
 16
      law and fact. On March 24, 2015, Case No. 2:15-cv-02027 TJH(ASx) was
 17
      transferred to Judge Kronstadt under General Order 14-03 (and now bears Case No.
 18
      2:15-cv-02027 JAK (SSx)).
 19
            In substance, the complaints allege that the Director Defendants, in an attempt
 20
      to entrench themselves, enacted a shareholder rights plan and a stock buy-back
 21
      program that prevented a buy-out of the Company at an advantageous price. This
 22
      Court, by order dated September 17, 2014, denied Defendants’ motion to dismiss
 23
      claims for breach of fiduciary duty relating to the shareholder rights plan and the
 24
      stock buyback and dismissed certain other claims.
 25
            On March 23, 2015 the parties entered into a Stipulation of Settlement as to
 26
      all claims in the Advanced Advisors and Gusinsky Trust actions and have requested
 27
      the Court to approve a Notice and set a date for a final approval hearing.
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  1   III.   ARGUMENT
  2          A. These Cases Should Be Consolidated
  3          Under Federal Rule of Civil Procedure 42(a), actions that “involve a common
  4   question of law or fact” may be consolidated. See also General Order 08-05
  5   Paragraph 5.1.1(a)-(b) (cases are related where they “arise from the same or a
  6   closely related transaction, happening, or event;” or “call for determination of the
  7   same or substantially related or similar questions of law and fact.”).
  8          Here, the complaints in the two above-captioned actions involve the same
  9   defendants. Both complaints allege substantially the same facts, including
 10   allegations that the Board acted improperly to entrench itself and that the Board
 11   breached their fiduciary duties.
 12          As set forth in Plaintiff’s points and authorities in support of preliminary
 13   approval of the settlement, Docket # 87, Defendants moved for judgment on the
 14   pleadings as they allege that LMPERs no longer has standing and there is a lack of
 15   complete diversity between Advanced Advisors and the remaining defendants.
 16   Plaintiff, Gusinsky Trust, has owned JAKKS shares at all relevant times and is a
 17   citizen of the state of Illinois, which is completely diverse from all defendants.
 18   Consolidation will not affect diversity jurisdiction1.
 19

 20

 21

 22
      1
       See Schnabel v. Lui, 302 F.3d 1023, 1036 (9th Cir. Cal. 2002); Continental Airlines
      v. Goodyear Tire & Rubber Co., 819 F.2d 1519, 1523 n.1 (9th Cir. 1987); Cella v.
 23   Togum Constructeur Ensemleier en Industrie Alimentaire, 173 F.3d 909, 913 (3d
 24   Cir. 1999)(holding that complete diversity existed “even after consolidation”);
      Chaara v. Intel Corp., 410 F. Supp. 2d 1080, 1094 (D.N.M. 2005) (noting that
 25   “[a]lmost all cases concerning consolidation have determined that separately filed
 26   cases retain their separate characters despite consolidation” and that the Fifth and
      Tenth Circuits in particular had “indicated ... that consolidated cases should be
 27   treated separately for the purpose of determining jurisdiction.”), aff'd, 245 F. App'x
 28   784 (10th Cir. 2007).
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  1   IV.   CONCLUSION
  2         For all the foregoing reasons, Plaintiffs respectfully request that the Court
  3   consolidate Case No. 2:14-cv-1420 JAK(SSx) and Case No. 2:15-cv-02027
  4   JAK(SSx) for all purposes.
  5   Dated: April 3, 2015                          LAW OFFICES OF DAVID N. LAKE
  6

  7                                                 By: /s/
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                                                    Plaintiffs’ Liaison Counsel
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                                   MOTION TO CONSOLIDATE
